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      Case: 5:07-cr-00061-KKC Doc #: 118 Filed: 08/07/13 Page: 1 of 2 - Page ID#: 221
                                                                                                 Eastern D1StrI.ot ofKentucky
PROB 12C
(612012)
                                                                                                           F I LED
                            lTNITED STATES DISTRICT COURT                                                  AUG 07 2013
                                                                                                          AT LEXINGTON
                                                        for                                              ROBERT R. CARR
                                                                                                     CLERK U.S. DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY

               Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: John William Rose                       Case Number: S:07-CR-61-S-01

Name of Sentencing Judicial Officer: Karl S. Forester, Senior United States District Judge

Date of Original Sentence: 11/2/2007

Original Offense: Conspiracy to possess with intent to distribute marijuana and distribution of marijuana; and
Conspiracy to conduct money laundering transactions.

Original Sentence: 120 month term of imprisonment on each count to run concurrently to be followed by a 10
year term of supervised release for each count to run concurrently. Later, the sentence was reduced to a 60 month
term of imprisonment on each count to run concurrently followed by a 10 year term of supervised release for each
count to run concurrently

Type of Supervision: Supervision                              Date Supervision Commenced: 7/1/2011

Assistant U.S. Attorney: Ron L. Walker, Jr.                    Defense Attorney:   James Lowry, IV



                                            PETITIONING THE COURT

!XI To issue a warrant

o      To issue a summons


The probation officer believes that the offender has violated the following condition(s) of supervision:

~==~= Condition                                        Nature of Noncompliance
           1     Standard Condition #7                 Unlawful use of an illegal controlled substance
           2     Condition of Supervision              Unlawful use and possession of and illegal
                                                       controlled substance.
    Case: 5:07-cr-00061-KKC Doc #: 118 Filed: 08/07/13 Page: 2 of 2 - Page ID#: 222
Honorable Karl S. Forester
Senior United States District Judge

AugustS, 2013
Page 2

RE: Rose, John William
     Dk!. # 5:07-CR-61-S-01
     PROB 12C


u.s. Probation Officer Recommendation:
     The term of supervision should be

            revoked.

      D     extended for _ _ years, for a total term of _ _ years.

IZI The conditions of supervision should be modified as follows:



                                      I declare under penalty of perjury that the foregoing is true and correct.



                                                                                tc:/~
                                                                                Deana Kincer
                                                                                Senior U. S. Probation Officer




THE COURT ORDERS:

     No action.
      I



~he issuance of a warrant.
D The issuance of a summons.

     Other



                                                                                             Signature of Judicial Officer



                                                                                                                     Date
